
Folger, J.
The complaint in this action does not, in terms, show any right or title in the plaintiff, upon which the former action of replevin would lie. That action could be maintained only by one who had the general or a special property in the thing taken or detained. That property must have been averred in the declaration, or it would not have sufficed the plaintiff’s purpose (Pattison v. Adams, 7 Hill, 126. See also Bond v. Mitchell, 3 Barb., 304; Vanderburgh v. Valkenburgh, 8 Id., 217).
The chapter of the Code of Procedure, of “The Claim and Delivery of Personal Property,” was intended to supply the provisional relief which was theretofore obtained in the action of replevin (See Commissioners’ Report, p. 169). There was no intention to change the requisites to maintain the action. There was no change made. Indeed, the Code, as reported, expressly required an affidavit from the plaintiff, where a delivery was to be made, that be was the owner of the property, or lawfully entitled to the possession thereof, by virtue of a special property therein {Commissioners Report, p. 170, § 182, subd. 1. And so it now is {Code, § 207). Nor is it less necessary now *322than formerly for the plaintiff to aver the facts which constitute his cause of action. He must allege facts and not evidence. He must allege facts and not conclusions of law. The plaintiff here alleges that the defendant wrongfully detains from him the chattel in question. If indeed that be true, then it must be that the plaintiff has a general or special property in the chattel, and the right of immediate possession. But unless he has that general or special property, and right of immediate possession, it cannot be true that it is wrongfully detained from him. The last, the wrongful detention, grows from the first, the property* and the right of possession. The last is the conclusion. The first is the fact, upon which that conclusion is based. It is the fact, which in pleading must be alleged. Where facts are stated in a pleading, which militate with a conclusion of law therein stated, the statement of" facts will prevail. Jones v. Phoenix Bk., 8 N. Y. [4 Seld.], 228; Robinson v. Stewart, 10 Id. [6 Seld.], 189. And is not the statement of a conclusion of law, without a fact averred to sustain it, an immaterial statement %
The plaintiff says that the defendant wrongfully detains from him the piano. The fact involved in that statement is that he detains it. Granted, then, that he detains it, why is it wrongful % Because the plaintiff is the owner by general or special right of property, and entitled to the immediate possession. But these are the facts, which are to be shown. They have not been averred. How then can they be shown % The plaintiff claims, however, that the averment in the answer denying the detention and denying ownership in the plaintiff, puts in issue these facts, and that the defect in the complaint is cured by that averment. He cites Bate v. Graham (11 N. Y. [1 Kern.], 237). But there the allegation in the answer was the affirmation of the very fact, which it was objected the com*323plaint should have averred. There the omission from the complaint was of an allegation, that the defendant maintained that a certain assignment of an insolvent debtor was not fraudulent. The answer of the defendant made the very averment which was omitted from the complaint, and the omission of which was the ground of the defendant’s objection to the complaint. The court well held that the complaint might have been amended, for both parties at the trial were maintaining the same fact. Here, however, the parties do not seek to maintain the same fact; and that which the answer avers, is the direct opposite of that which the plaintiff must establish to recover. Would the plaintiff take the averment of the answer into his complaint as a part of its allegations 1 Then he would allege that he is not the owner of the property, and that the defendant has not detained it from him. And then his complaint would show him without cause of action (See Pelton v. Ward, 3 Caines, 73).
The same considerations are applicable to the lack of the averment of a demand and refusal, if the plaintiff’s case is to depend upon a wrongful detention, without a wrongful taking in the first instance. The case of Levin v. Russell (42 N, Y., 251), is cited by the appellant. There are two facts which make it inapplicable here. There was in it no motion to dismiss the complaint for its insufficiency, and proof was made at the trial, without objection of facts, making a cause of action.
Again ; the complaint did not allege that the property was that of the plaintiff. This does not appear in the report of the case in 42 N. Y; and from the statement there, one would think that the complaint was without an allegation of the plaintiff’s ownership. On referring to the printed case, as it is found in the series of bound volumes of cases in this court, in the State library, the averment reads • thus : “ the following goods and chat*324tels of the plaintiff.” This is in exact accordance with the precedent for a declaration in replevin (Pattison v. Adams, supra).
The judgment should be affirmed, with costs to the respondent.
Folqer, J., also read an opinion in favor of affirmance.
All the judges concurred.
